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 6                                     UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                                     ***
                                                       )
 9   UNITED STATES OF AMERICA,                         )
                                                       )
10                        Plaintiff,                   )      3:08-CR-0006-LRH-RAM
                                                       )
11   v.                                                )
                                                       )      ORDER
12   DARIN JEROME FRENCH, and                          )
     JENNIFER LYNN FRENCH                              )
13                                                     )
                          Defendants.                  )
14                                                     )

15          Before the court is defendant Darin Jerome French’s (“French”) motion for a new trial filed

16   May 16, 2011. Doc. #298.1 The government filed an opposition (Doc. #300) and French replied

17   (Doc. #313).

18   I.     Facts and Background

19          French, along with his wife and co-defendant Jennifer Lynn French, was charged in a

20   superseding indictment with thirty-two (32) counts of mail fraud in violation of 18 U.S.C. § 1341;

21   twenty-five (25) counts of wire fraud in violation of 18 U.S.C. § 1343; three (3) counts of money

22   laundering in violation of 18 U.S.C. § 1957; and one (1) count of money laundering in violation of

23   18 U.S.C. § 1956(a)(1)(B)(1) for his participation in an alleged scheme to defraud customers of his

24   on-line appliance business Look What We Got! (“LWWG”). Doc. #60.

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26          1
                Refers to the court’s docket number.
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 1           On February 18, 2011, after a nine-day jury trial, French was convicted of twenty-two (22)

 2   counts of mail fraud in violation of 18 U.S.C. § 1341; eleven (11) counts of wire fraud in violation

 3   of 18 U.S.C. § 1343; two (2) counts of money laundering in violation of 18 U.S.C. § 1957; and one

 4   (1) count of money laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(1). Doc. #269. Thereafter,

 5   French filed the present motion for a new trial on May 18, 2011. Doc. #298.

 6   II.     Motion for a New Trial

 7           Under Rule 33 of the Federal Rules of Criminal Procedure, a district court may grant a new

 8   trial to a criminal defendant “if the interest of justice so requires.” FED . R. CRIM . P. 33(a). However,

 9   a motion for new trial not based on newly discovered evidence must be filed within 14 days after

10   the verdict. FED . R. CRIM . P. 33(b)(2).

11           Here, French was found guilty on February 18, 2011. Doc. #269. French did not file the

12   present motion for a new trial until May 16, 2011, more than fourteen (14) days after the jury

13   verdict. See Doc. #298. Although French styles his motion as a motion for new trial based on newly

14   discovered evidence, French offers no newly-discovered evidence in his motion. Rather, his motion

15   is based on his after-the-fact interpretation of the evidence presented at trial and his claim that

16   certain government witnesses perjured themselves; all of which was known to him at the time of

17   trial. See Doc. #298. Therefore, because the court finds that French has not presented any newly

18   discovered evidence, the court finds that his motion for a new trial is untimely and shall deny it

19   accordingly.

20           On May 31, 2011, the court sentenced French to one hundred fifty (150) months

21   incarceration conditional on this court’s ruling on his motion for a new trial. In light of the court’s

22   denial of French’s motion for a new trial, the imposition of the sentence imposed shall be effective

23   upon the filing of this order.

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 1          IT IS THEREFORE ORDERED that defendant’s motion for a new trial (Doc. #298) is

 2   DENIED.

 3          IT IS FURTHER ORDERED that the effective date of defendant Darin Jerome French’s

 4   sentence shall be, and hereby is, effective upon the filing of this order.

 5          IT IS SO ORDERED.

 6          DATED this 3rd day of June, 2011.

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 9                                                      LARRY R. HICKS
                                                        UNITED STATES DISTRICT JUDGE
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